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                     EXHIBIT 9
         Letter from Ronald D. Green
           to Lawrence G. Walters

              Dated January 6, 2015
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                                                                   Ronald D. Green
                                                                            Partner
                                                                    Licensed in NV




                                                                   6 January 2015

Via Email Only
larry@firstamendment.com

Lawrence G. Walters, Esq
Walters Law Group
195 W. Pine Ave.
Longwood, FL 32750

      Re: AMA Multimedia, LLC adv. Serviporno.com

Dear Larry:

Following receipt of my letter to you dated December 24, 2014, you indicated
that your client would likely not provide the information that AMA Multimedia,
LLC (“AMA”) requested absent a subpoena. The Settlement Agreement that the
parties reached last year does indeed require a subpoena. To that end, we will
prepare and serve one upon Borjan Solutions S.L. d/b/a Serviporno
(“Serviporno”). Please let me know if you are authorized to accept service on
Serviporno’s behalf.

Moreover, while AMA is happy to formally serve a subpoena upon Serviporno, it
additionally possesses enough evidence to confidently state that your clients
are in breach of the Settlement Agreement and Mutual Release. More of AMA’s
full-length videos are added to the Serviporno site on an almost daily basis, and
virtually all of them appear to have been uploaded to the site directly by your
clients.

Most of the videos exceed the maximum upload size permitted of users of the
Serviporno website. Moreover, the uploads have AMA’s intro and outro bumpers
removed, which is far more indicative of content being uploaded by Serviporno
itself rather than its users. Specifically, the removal of the bumpers indicates that
your clients are hoping that neither AMA nor other content producers notice
that their content is being unlawfully uploaded to the Serviporno website.



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Serviporno.com
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Most indicative of breach by your clients, it does not appear that the user
upload process on the Serviporno website is even functional. AMA has
attempted to upload video content onto the site on numerous occasions over
the past several months. It has never worked, leading AMA to question exactly
how Serviporno users could possibly be uploading its content onto the
Serviporno website.

Your clients’ current conduct does not appear to be appreciably different than
the actions that made the original Agreement necessary in the first place. It is
additionally consistent with Borjan Mera Urrestarazu’s December 2012
statements on GFY.com that Serviporno was intentionally and unlawfully taking
videos from other tube sites.

Given your clients’ breach of the Agreement, AMA hereby invokes the dispute
resolution portions of Paragraph 20.1 of the Agreement. Specifically, AMA wishes
to attempt a good faith resolution of the dispute. If one cannot be obtained
expeditiously, AMA requests that your clients agree to formal mediation in Clark
County, Nevada. We propose that mediation be scheduled during February or
March of 2015. If you would like this office to propose local mediators familiar
with Internet and intellectual property law, we would be happy to do so.

AMA is confident that your clients have breached and will not agree to resolve
this matter absent significant compensation by your clients. If they wish to
resolve this breach without the necessity of formal mediation, AMA is willing to
do so for a payment of $250,000.00, as well as a new settlement agreement that
more explicitly prohibits them from engaging in these behaviors in the future.
Please let us know whether this is acceptable within 7 days of the date of this
letter or whether more formal resolution procedures will be required.

If you have any questions, please do not hesitate to contact this office at your
convenience. We look forward to hearing from you.


                                  Sincerely,




                                  Ronald D. Green
